Case 8:24-cr-00068-KKM-TGW Document 36-11 Filed 05/09/24 Page 1 of 4 PageID 251




                       Exhibit K
Case 8:24-cr-00068-KKM-TGW Document 36-11 Filed 05/09/24 Page 2 of 4 PageID 252
Case 8:24-cr-00068-KKM-TGW Document 36-11 Filed 05/09/24 Page 3 of 4 PageID 253




        SULQWHG3')DQG([FHOILOH




             %FDFNCFS 
Case 8:24-cr-00068-KKM-TGW Document 36-11 Filed 05/09/24 Page 4 of 4 PageID  254 - 045
                                                                       2022R02121

      DECLARATION OF AUTHENTICATION OF BUSINESS RECORDS

 I, _______________________________,
     'DQ/RIJUHQ                           am the custodian of records or am otherwise
                  (name)
 qualified to authenticate the records of _____________________________________
                                           7981HWZRUNV&RUSRUDWLRQ
                                                      (company or business)
 I have provided the following records to the United States pursuant to Subpoena No.

 ____________________.
  5 86'LVWULFW&RXUW0LGGOH'LVWULFWRI)ORULGD

 List of records provided:
 ______________________________________________________________________
 (PDLOIURP'/RIJUHQHQWLWOHG1RWLFHOHWWHUFRQWHQWWDNHGRZQGDWHG-DQXDU\
 ______________________________________________________________________
 UHIHUULQJWRDOHWWHUDWWDFKHGWRWKHHPDLO
 ______________________________________________________________________
 ______________________________________________________________________
 /HWWHUDWWDFKHGWRWKHDERYHHPDLO
 ______________________________________________________________________

 I certify that the above records are business records of regularly conducted activity and that I
 am a custodian or am otherwise qualified as to the authentication of these records. I also
 certify that the records: (1) were made at or near the time of the occurrence of the matters set
 forth in the records by a person with knowledge of those matters or from information
 transmitted by a person with knowledge of those matters; (2) were kept in the course of a
 regularly conducted activity; and (3) were made by the regularly conducted activity as a
 regular practice. I make these claims under penalty of perjury.

 ‫ ܆‬Please check if appropriate
        Additionally, such records were generated by ________________ electronic process or
 system that produces an accurate result, to wit:
        The records were copied from electronic device(s), storage medium(s), or file(s) in the
 custody of ___________________, in a manner to ensure that they are true duplicates of the
 original records; and
        The process or system is regularly verified by ________________, and at all times
 pertinent to the records certified here the process and system functioned properly and
 normally.

 The address and phone number where I can be reached are:

  7981HWZRUNV&RUSRUDWLRQ 7RZQ&HQWHU/DQH 6XLWH
 ________________________________________________
 ________________________________________________
  &XSHUWLQR&$
  GORIJUHQ#WYXQHWZRUNVFRPSKRQH  
 ________________________________________________


  'DQ/RIJUHQ
 ________________________________                           ____________________________
 Printed Name                                               Signature
 _________________
 Date
